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                                Exhibit
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    Florida Protections for Sources and Source Material




    Florida Protections for Sources and Source Material                                                                              [1]



    Note: This page covers information specific to Florida. See the section on Protecting Sources and
    Source Material [2] for more general information.

    Florida has a shield law that may protect your sources and newsgathering materials. It protects both
    the identity of sources and unpublished information acquired or prepared during newsgathering,
    such as notes and outtakes. However, the protection extends only to "professional journalists" and
    appears to be limited to traditional media formats.

    Nevertheless, even if you do not qualify for Florida's shield law, you may still be able to protect your
    sources and source material. Both prior to and after the passage of the shield law, Florida courts
    have confirmed that a common law privilege protects the identity of a journalist's sources and
    source materials. This common law privilege may offer protection for amateur and non-traditional
    journalists.

    In addition, federal courts in the Eleventh Circuit, which encompasses Florida, recognize a qualified
    "reporter's privilege" based on the First Amendment to the U.S. Constitution. However, the scope of
    this privilege is uncertain.

    The Privacy Protection Act may protect you against the search and/or seizure, in connection with a
    criminal investigation or prosecution, of materials you possess in connection with a purpose to
    disseminate to the public a newspaper, book, broadcast, or other similar form of public
    communication. This federal statutory protection applies regardless of the state in which you live.

                                                                     Shield Law

    Source and Statutory Text

    Florida's shield law, located at Fla. Stat. § 90.5015 [3], states in relevant part:

            (1) DEFINITIONS . . . (a) "Professional journalist" means a person regularly engaged in
            collecting, photographing, recording, writing, editing, reporting, or publishing news, for gain or
            livelihood, who obtained the information sought while working as a salaried employee of, or
            independent contractor for, a newspaper, news journal, news agency, press association, wire
            service, radio or television station, network, or news magazine. Book authors and others who
            are not professional journalists, as defined in this paragraph, are not included in the provisions
            of this section.

            (2) PRIVILEGE.--A professional journalist has a qualified privilege not to be a witness
            concerning, and not to disclose the information, including the identity of any source, that the
            professional journalist has obtained while actively gathering news. This privilege applies only
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            to information or eyewitness observations obtained within the normal scope of employment
            and does not apply to physical evidence, eyewitness observations, or visual or audio
            recording of crimes. A party seeking to overcome this privilege must make a clear and specific
            showing that: (a) The information is relevant and material to unresolved issues that have been
            raised in the proceeding for which the information is sought; (b) The information cannot be
            obtained from alternative sources; and (c) A compelling interest exists for requiring disclosure
            of the information.

            ...

            (4) WAIVER.--A professional journalist does not waive the privilege by publishing or
            broadcasting information.

    Who is Covered?

    Florida's shield law applies only to "professional journalists." To qualify for the shield law's
    protection, you must be acting as an employee or independent contractor for "a newspaper, news
    journal, news agency, press association, wire service, radio or television station, network, or news
    magazine." Book authors are specifically excluded from protection. The CMLP is not aware of any
    Florida cases addressing whether an employee or independent contractor for an online news
    publication is covered by the statute, but the language of the statute makes such coverage doubtful.
    In addition, the "professional journalist" requirement would likely exclude from coverage many types
    of amateur and non-traditional journalists who do not receive payment for their work.

    What Information is Protected?

    Florida's shield law extends to both the identity of sources and unpublished information gathered
    and prepared in the course of newsgathering, such as notes and outtakes. The statute excludes
    from its protection physical evidence, eyewitness accounts, or recordings of crimes. The shield law
    protects the identity of a source whether or not you promise confidentiality to the source in question.
    Publication of some information on a topic does not constitute a waiver of the privilege with respect
    to that topic.

    How Strong is the Protection?

    The shield law provides a qualified privilege, which means that a court may force you to reveal
    information in some circumstances, even if you are covered by the statute (above). In order to
    compel disclosure of the identity of an anonymous source or unpublished information, a court or
    other legal body must find that three conditions are met: (1) the information is relevant and material
    to unresolved issues in the case; (2) the information cannot be obtained from alternative sources;
    and (3) a compelling interest exists for requiring disclosure of the information. The results of this
    kind of balancing test would be different depending on the facts of the particular case.

    The same test applies in criminal and civil cases and whether or not you are a party to the lawsuit.
    As a practical matter, courts may be particularly inclined to order disclosure when the person trying
    to protect information is a party to the lawsuit in question or when a criminal defendant seeks
    information to mount a defense.

    For more detailed information about the Florida shield law, see the Reporters Committee for
    Freedom of the Press's Privilege Compendium: Florida [4].

                                            Common Law Privilege


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    The Florida common law (i.e., judge-made law) may protect you from having to disclose information
    even if the shield law does not. Unlike in some other states, where shield laws eliminated common
    law protections for newsgatherers, the Florida shield law explicitly preserves common law
    protections. Additionally, the Florida Supreme Court has continued to recognize a common law
    privilege after enactment of the shield law.

    Who is Protected?

    Florida courts have not indicated specifically who is protected by the common law privilege for
    newsgatherers. There are at least some indications that the common law will protect people that the
    shield law does not. For instance, while the shield does not protect book authors, a Florida court
    has held that the common law privilege covers them. Florida v. Trepal, 24 Media L. Rep. 2595, 2596
    (Fla. Cir. Ct. 1996). It is not clear how this precedent would translate into an online or amateur-
    journalism context.

    What Information is Protected?

    The common law privilege applies to the identity of sources and information collected in the course
    of newsgathering, and it applies whether or not you promise confidentiality to a source. Like the
    shield law, the common law privilege does not apply to eyewitness observations or physical
    evidence of a crime.

    How Strong is the Protection?

    The Florida common law privilege is a qualified privilege. If the you and your information fit within its
    scope, then a court will only order you to disclose information on if it finds: (i) the information is
    relevant and significant to unresolved issues in the case; (ii) the information cannot be obtained
    from other sources; and (iii) a compelling interest exists for requiring disclosure. The results of this
    kind of balancing test would be different depending on the facts of the particular case. Courts may
    be particularly inclined to order disclosure when the person trying to protect information is a party to
    the lawsuit in question or when a criminal defendant seeks information to mount a defense.

                                        Federal Reporter's Privilege

    Federal courts in the Eleventh Circuit, which encompasses Florida, have recognized a qualified
    reporter's privilege based on the First Amendment to the U.S. Constitution. It applies to the identity
    of sources and unpublished information collected or prepared during newsgathering.

    Unfortunately, courts in the Eleventh Circuit have not had many opportunities to define the scope of
    the privilege, so it is hard to say whether an amateur or non-traditional journalist could take
    advantage of it. When it applies, however, the privilege is qualified, meaning that a court must
    establish three things before ordering disclosure: (a) the information is highly relevant; (b) it is
    necessary to the proper presentation of the case; and (c) it is unavailable from other sources.
    Courts applying this test often also tend to weigh the public interest in disclosure of the information
    against the public interest in promoting a an uninhibited press. The results of this kind of balancing
    test would be different depending on the facts of the particular case.

    For additional information, see the Reporters Committee for Freedom of the Press's Privilege
    Compendium: 11th Circuit [5].

                                            Privacy Protection Act

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    The Privacy Protection Act (PPA) makes it unlawful for government officials to search for or seize
    work product or documentary materials possessed by a person in connection with a purpose to
    disseminate to the public a newspaper, book, broadcast, or other similar form of public
    communication. 42 U.S.C. § 2000aa(a),(b) [6]. If you are covered by the PPA, it can protect you from
    both state and federal officials, regardless of what state you live in. To learn more about the PPA,
    see General: Legal Protections for Confidential Sources and Source Material [7].

    Jurisdiction:
            Florida [8]

    Subject Area:
            Shield Laws [9]
            Newsgathering [10]




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    [3] http://www.leg.state.fl.us/Statutes/index.cfm?App_mode=Display_Statute&Search_String=&URL=0000-
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